CM/ECF - USDC Massachusetts - Version 6.2.2 as of2/9/2019               https://ecf.mad.circ 1.dcn/cgi-bin/Dispatch.pl? l 993279371188



         UNITED STATES DISTRICT
                            COURT
                                                                    DISTRICT         oF'.~ ;slcinJsiitTS
                                                                                      U.S. D\STR CT COURT
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                                                                                        :   ,.   \   '., 1




                                    PAUL JONES
                                           Plaintiff
                                                                              Civil Action No.: 1:19-CV-11076-
                                               v.                             FDS

                        DOLAN CONNLY P.C., ET AL.
                                          Defendant




                                               SUMMONS IN A CIVIL ACTION

          To: (Defendant's name and address)    Li',vb A       6R}q_,v£
                                                / kSo       w esf XS ij 73-e S)lJ-e_fl
                                               T~ y \ ML L/g()ty
               A lawsuit has been filed against you.

               Within 21 days after service of this summons on you (not counting the day you received it) --- or
          60
          days if you are the United States or a United States agency, or an officer or employee of the United
           States
          ·described in Fed. R. Civ. P. 12 (a)(2) or (3) --- you must serve on the plaintiff an answer to the attached
           complaint or a motion under Rule 12 of the Federal Rules of Civil Procedure. The answer or motion
           must be
           served on the plaintiff or plaintiffs attorney, whose name and address are:
                                                                       B     l\J I   --Sc,ve.S
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               If you fail to respond, judgment by default will be entered ag~nst you for the relief demanded in
          the complaint. You also must file your answer or motion with the court.




1 of3                                                                                                                        5/9/2019, 2:02
I M/ECF - USDC Massachusetts - Version 6.2.2 as of2/9/2019                 https://ecf.mad.circ l .dcn/cgi-bin/Dispatch.pl? 19932793 7118833




             ROBERT M. FARRELL
            CLERK OF COURT

             Isl - Matthew McKillop
           Signature of Clerk or Deputy Clerk


           ISSUED ON 2019-05-0914:01:54.0, Clerk USDC DMA



                     Civil Action No.: 1:19-CV-11076-FDS

                                                              PROOF OF SERVICE


                        (This section should not he filed with the court unless required by Fed. R. Civ. P. 4 (I))

                        This summons for{name of individual and title, if any)
                        I l ~JD f;\     0 ~ )\t'l 1 S
                     was received by me on cdate)       m'&( \\, aD l9
                                                                     )


                   I personally served the summons on the individual at
                 0 (place)_ _ _ _ _ _ _ _ _ __

                     _ _ _ _ _ _ _ _ _ _ _ _ _ _ __ on (date) _ _ _ _ __ _ __ __ ; or


                   I left the summons at the individual's residence or usual place of abode with
                 0 (name) _ _ _ __


                     - - -- - - - - - - - -~                   a person of suitable age and discretion who resides
                     there,

                     on (date) _ _ _ __ __              , and mailed a copy to the individual's last known address; or

                 ClJ-1- served the summons on (name of individual)_~~V~~~\~:E>,____f\1
                                                                                   _~C>~\J
                                                                                       ~= ~ .....IV
                                                                                                 ~ - - - , who is
                     designated by law to accept service of process on behalf of (name of
                     organization)_ _ _ _ __

                                                                                                                     ; or

                     I returned the summons unexecuted because_ __ _ __ _ _ _ _ _ _ _ _ _ __
                 0
                     or



 of3                                                                                                                     5/9/2019, 2:02 PM
CM/ECF - USDC Massachusetts- Version 6.2.2 as of2/9/2019               https://ecf.mad.circ 1.dcn/cgi-bin/Dispatch.pl?l 9932793711883




                D Other (specify) :



                   My fees are $              for travel and $            for services, for a total of
                   s al..Qo - -                              ---

                   I declare under penalty of perjury that this information is true.




                                                                                       Server's Signature

                                                                      i   I   ctva, !v/1/J'q 4,, S
                                                                                   Printed name and title




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                                                                                       Server's Address
                                                                                                             EoK /11Jlot)J/J
         Additional information regarding attempted service, etc:




 3 of3                                                                                                               5/9/2019, 2:02 P
6/ 15/2019                                                    USPS.com® - USPS Tracking® Results




    USPS Tracking®                                           FAQs     > (https://www.usps.com/faqs/uspstracking-faqs.htm)



                                                  Track Another Package                    +


                                                                                                                 Remove X
   Tracking Number: 70151520000018143802

   On Time

   Expected Delivery on

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                                by
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    &Delivered
   June 10, 2019 at 2:38 pm
   Delivered , Left with Individual
   WALTHAM , MA 02452

   Get Updates V




        Text & Email Updates                                                                                        V



        Tracking History                                                                                            V



        Product Information                                                                                         V



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                                 Can't find what you're looking for?
https://tools.usps.com/go/TrackConfirmAction ?tRef=fullpage&tlc=2&text28777=&tlabels= 701 51520000018143802%2C                1/2
        SENDER: COMPLETE THIS SECTION

    '•      Complete Items 1, 2, and 3.
    t•      Print your name and address on the reverse                                                 •   Agent
    :       so that we can return the card to you.                                                     •   Addressee
    j   •   Attach this card to the back of the mallplece,
            or on the front If space permits.




        PS Form   3811, July 2015 PSN 7530-02-000-9053                                      Domestic Return Receipt :



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    United States                 • Sender: Please print your name, address, and ZIP+4® in this box•
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